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                              Exhibit 3
                   Declaration of Eden Shemuelian
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       I also wanted to follow up on my previous email and confirm that you forwarded my email to the University
       Dean of Students?
       Thank you again, and I look forward to hearing from you.

       Warmly,
       Eden




       On Mon, Nov 13, 2023 at 10:59 AM Shemuelian, Eden <                                                                 > wrote:
          Hi Dean Waterstone,


          Thank you for your email.
          Yes, please forward my email to the University Dean of Students at your earliest. I would also like to
          add one more student to my report below, specifically for vandalism/tearing down the kidnapped posters
          from bulletin boards. His name is REDACTED (currently a 2L). I have witnesses to corroborate if
          needed.
          I will also submit an EDI report to the Office of the Assistant Vice Chancellor for Civil Rights.
          Looking forward to hearing from you and holding these individuals accountable.


          Sincerely,
          Eden


          On Mon, Nov 13, 2023 at 8:50 AM Waterstone, Michael <                                                     > wrote:
             Dear Eden,


             Thank you for your e-mail. I am sorry you are having to go through this, and I appreciate hearing
             from you personally.


             Over the weekend, I refamiliarized myself with our law school and University processes for reports of
             this type and the handling of these incidents happens at the University level. Because we take these
             concerns seriously, we believe we must follow official next steps as required by campus. Our campus
             partners will investigate further and determine whether there’s been a violation of a relevant policy.


             There are actually several types of reporting that could be relevant here. Alleged violations of campus
             policies related to discrimination/EDI are filed here, in the Office of the Assistant Vice Chancellor for
             Civil Rights. Alternatively (and complementary), you can send a purported violation of the Student
             Code of Conduct to                             (we can forward the e-mail you sent below to that
             address, but I didn’t want to presume you wanted us to). Campus policies dictate that allegations of
             discrimination or other prohibited behavior in the Student Code of Conduct should be reported to
             relevant campus offices, as they are responsible for investigating the claims and reaching any
             determination. Aside from reporting the complaints, we cooperate with those campus colleagues in
             any way they deem necessary as part of their processes.


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             4. Hurtful and accusatory emails from SBA and Dean Martí (11/2 and 11/3)
             The emails all failed to acknowledge that the "recorded" material would have been of students
             aggressively tearing down other organizations' flyers—flyers depicting images of innocent children
             abducted by Hamas, a self-proclaimed terrorist group. The emails were accusatory and hurtful to a
             large group of us students on campus. These actions turn the blame around from the aggressive
             murderers/terrorists to the true victims here, and the university is not only silent, but has taken a
             vocal stance in support of students who condone these acts of terror.

             To sum, this school has not been a safe space for me and my Jewish peers for the past few weeks. I
             chose to attend this university to receive an education. If I had known I would be faced with extreme
             antisemitism on a daily basis, I would have committed elsewhere. I have not been able to sit in class
             and learn for the past 34 days, especially when these students sit behind me in my classes four days
             a week with their Palestinian resistance/terrorist scarves (and only seconds before class is to begin,
             they are chanting for the genocide of my people). As I discussed with Dean Martí, I have been unable
             to go to class due to my pure fear and discomfort, so I have been forced to live stream my lectures
             and refrain from attending class in person (an act which I have not only earned, but also paying for
             with my tuition). Rather than solving the problem, I have been offered "accommodations" to deal with
             the hatred directed towards me and other UCLA Law Jewish students. I ask you — why are hateful
             and violence-inciting students, actively instilling fear in many around them, benefiting from such
             disturbing behavior?

             Finally, I would like to thank Chancellor Block for finally acknowledging the tremendous pain Jewish
             students are experiencing on a daily basis and for his commitment to holding actors of such
             despicable hate accountable. I know I am speaking on behalf of myself and my Jewish peers when I
             say we appreciate Chancellor Block's unequivocal support for the Jewish community, and we hope to
             feel safe on campus soon.

             Please let me know if you have any questions, and let me know if I can provide any additional
             information or witnesses for the above statements.
             I look forward to hearing about next steps soon.

             Sincerely,
             Eden Shemuelian


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             Eden Shemuelian
                                                                                                       | LinkedIn |
             Juris Doctor Candidate | UCLA School of Law




             ---------- Forwarded message ---------
             From: Chancellor Gene D. Block <                                >
             Date: Fri, Nov 10, 2023 at 2:16 PM
             Subject: Standing Against Bigotry at the University of California
             To: <                                   >



             UC eade s wi l announce new e o s o combat disc iminat on n the coming weeks




                       e a e      s e   e




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                                                                          Dear Bruin Community:




                                                                          Periods of conflict in the Middle East have time and again been linked to a global rise in
                                                                          reprehensible acts of Antisemitism, Islamophobia and anti-Arab hate. I am extremely
                                                                          disheartened to say that this has proven true once again, and the UCLA campus has by
                                                                          no means been spared.




                                                                          Today, I joined University of California President Michael V. Drake and the UC
                                                                          chancellors in issuing a forceful condemnation of incidents of bigotry, intolerance and
                                                                          intimidation that have taken place on UC campuses — including UCLA — over the past
                                                                          several weeks. We must be crystal clear: discrimination, threats, violence and hate have
                                                                          absolutely no place in a university community dedicated to open-mindedness, respect
                                                                          and mutual understanding. Our full message appears below.



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                     More than denounce bigotry, though, we must also actively work against it. President
                     Drake will be sharing a series of systemwide initiatives in the coming weeks to address
                     the current university climate, and my administration will be launching its own set of
                     efforts to strengthen community and reaffirm our values in this period of intense strife.




                     I recognize that this work is urgently needed. At an event just this week on our campus,
                     individuals exhibited extremely hateful behavior and used despicable Antisemitic
                     language, which was captured on video and shared widely, frightening many within our
                     community. While this may be protected speech under the First Amendment, it is
                     nonetheless abhorrent and completely unacceptable. Campus officials are reviewing the
                     actions at the event and anyone found to be in violation of the law or the UCLA code of
                     conduct will be held accountable.




                     In our diverse university community, even if we disagree with someone passionately, we
                     cannot devolve into dehumanizing them with rhetoric, treating them with prejudice or
                     jeopardizing their safety. We must find the best in ourselves and in one another. Let us
                     work towards better days ahead.




                     Sincerely,




                     Gene D. Block
                     Chancellor




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                     University of California President Michael V. Drake, M.D., and the 10 University of
                     California Chancellors sent the following message today (Friday, Nov. 10, 2023) to
                     members of the UC community:




                     To the University of California community,




                     We write today to condemn the alarming, profoundly disappointing acts of bigotry,
                     intolerance, and intimidation we have seen on our campuses over these past several
                     weeks. It is our shared responsibility to maintain a sense of community where everyone
                     feels safe and welcome.




                     Some of the rhetoric we have seen and heard over the past month at campus protests,
                     online, in student government meetings, and in classrooms has been shocking and
                     abhorrent. Let us be clear: There is no place for hate, bigotry, or intimidation at the
                     University of California. Period.




                     Antisemitism is antithetical to our values and our campus codes of conduct and is
                     unacceptable under our principles of community. It will not be tolerated.




                     Similarly, Islamophobia is unacceptable and will not be tolerated. We will work to ensure
                     that those who advocate on behalf of Palestinians can also be confident of their physical
                     safety on our campuses.



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                     It is our collective responsibility to foster a safe and welcoming learning, living, and
                     working environment while also promoting the principles of free expression and
                     academic freedom. We take our obligation to uphold the First Amendment seriously,
                     even when the viewpoints expressed are hateful or repugnant. We cannot censor voices
                     or ban groups we disagree with, so long as those voices and groups comply with state
                     and federal laws and with university policy.




                     But free speech is not absolute, and violations of policy or law will have consequences.
                     Regents Policy 4403: Statement of Principles Against Intolerance calls on UC leaders
                     “actively to challenge anti-Semitism and other forms of discrimination when and
                     whenever they emerge within the University community.” We will uphold this policy. Our
                     campuses have and will continue to impose consequences on behavior that crosses the
                     line into unprotected speech, such as persistent harassment of individuals or groups, or
                     credible threats of physical violence. We will also take steps against any violations of the
                     law or university policy such as disruptions of university activity, violence, or vandalism.
                     Our educators must continue to provide a supportive and welcoming environment for all
                     students and avoid using classroom time for improper political indoctrination.




                     And while words matter a great deal — and we stand firmly by the words we share today
                     — this is also a time for action. Over the coming days, President Drake will announce a
                     series of initiatives to help us address the current climate on our campuses, provide
                     additional support for our students, staff, and faculty, and improve the public discourse on
                     this issue.




                     Members of the UC community may have differing opinions on the Middle East conflict,
                     but our stand on intolerance and intimidation in our own community is unequivocal: We
                     will not stand for it, and we will do everything in our power to ensure that the University of
                     California is a safe community for all.


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                     Michael V. Drake, M.D.
                     President, University of California




                     Gene D. Block
                     Chancellor




                     Carol Christ
                     Chancellor, UC Berkeley




                     Howard Gillman
                     Chancellor, UC Irvine




                     Sam Hawgood
                     Chancellor, UCSF




                     Pradeep Khosla
                     Chancellor, UC San Diego




                     Cynthia Larive
                     Chancellor, UC Santa Cruz


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                     Gary May
                     Chancellor, UC Davis




                     Juan Sánchez Muñoz
                     Chancellor, UC Merced




                     Kim Wilcox
                     Chancellor, UC Riverside




                     Henry Yang
                     Chancellor, UC Santa Barbara




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